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  MINUTE ENTRY
  TERRY A. DOUGHTY
  UNITED STATES DISTRICT JUDGE
  June 21, 2022
                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF LOUISIANA
                                        MONROE DIVISION


  STATE OF MISSOURI ET AL                                      CASE NO. 3:22-CV-01213

  VERSUS                                                       JUDGE TERRY A. DOUGHTY

  JOSEPH R BIDEN JR ET AL                                      MAG. JUDGE KAYLA D. MCCLUSKY

          Pursuant to the filing of a Motion for Preliminary Injunction [Doc. No. 10] by Plaintiff

  States1 on June 14, 2022, this Court issued a minute entry [Doc. No. 12] ordering Government

  Defendants2 to file their response to the Motion for Preliminary Injunction by June 28, 2022.

          Plaintiff States have since filed a Motion for Expedited Preliminary Injunction-Related

  Discovery [Doc. No. 17]. This issue must be resolved prior to a response by Government

  Defendants. Accordingly,

          IT IS ORDERED that the June 28, 2022, deadline for Government Defendants to

  respond to the Motion for Preliminary Injunction is hereby CONTINUED without date.

          IT IS FURTHER ORDERED that additional deadlines for responses will be set after

  the pending discovery motion [Doc. No. 17] is resolved.

                                                           TAD




  1
   Plaintiff States consist of Missouri and Louisiana.
  2
   Government Defendants are President Joseph R. Biden, Jr., Jennifer Rene Psaki, Vivek H. Murthy, Xavier Becerra,
  Department of Health & Human Services, Anthony Fauci, National Institute of Allergy & Infectious Diseases,
  Centers for Disease Control & Prevention, Alejandro Mayorkas, Department of Homeland Security, Jen Easterly,
  Cybersecurity & Infrastructure Security Agency, and Nina Jankowicz.
